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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


                                                                         Chapter 11
    In re:
    MOUNTAIN EXPRESS OIL COMPANY, et al.,                                Case No. 23-90147 (DRJ)

                                        Debtors.1                        (Jointly Administered)

                                                                         Related Doc No. 1314

                                            EMERGENCY RELIEF

                                    STIPULATED
                     INTERIM ORDER LIFTING THE AUTOMATIC STAY

        This matter came on for consideration of the Emergency Motion to Lift the Automatic Stay

(Doc. No. 1314) (the “Motion”) filed by Venkat Enterprises, Inc., Aksoy, LLC, and CF Gas Store,

LLC (collectively, the “Operators”). As indicated to the Court by signature below for the Court-

appointed Chapter 11 Trustee, it has been represented to the Court that this Order is in the best

interests of the Estate, that the Chapter 11 Trustee has no objection to the entry of this Order and

stipulates to the same. It has further been represented to the Court as indicated by the signature of

counsel below that the primary secured creditor of the Estate, First Horizon Bank, N.A., has no

objection to the entry of this Order and stipulates to the same.

        After considering the pleading, the evidence and the stipulations of counsel, the Court finds

cause to grant the requested relief. It is therefore,


ORDERED:


1
    A complete list of each of the Debtors in these Chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
    Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter 11 cases is
    3650 Mansell Road, Suite 250, Alpharetta, GA 30022.

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    1.        Subject to the requirements in this Order, in the event an Operator’s location is branded,
              such Operator is authorized to use any means necessary to purchase the appropriately
              branded2 fuel from non-debtor entities and to facilitate payment, including but not limited
              to the disconnection of the Debtors’ credit card processing machines and black boxes. In
              the event an Operator’s location is not branded, such Operator is authorized to use any
              means necessary to purchase fuel from non-debtor entities and to facilitate payment,
              including but not limited to the disconnection of the Debtors’ credit card processing
              machines and black boxes.

    2.        To participate in the relief authorized by this Order, the Operators shall do the following:

                  a. Complete the attached disconnection notice (the “Disconnection Notice”) and
                     transmit to the Chapter 11 Trustee (the “Trustee”) via electronic mail before any
                     purchases from non-debtor entities occur:

                           Chapter 11 Trustee
                           Janet Northrup
                           1201 Louisiana Street, 28th Floor
                           Houston, Texas 77002
                           Email: jsn@hwalllp.com
                           Email: hhm@hwa.com
                           Email: jwk@hwa.com

                  b. Notwithstanding the foregoing, the Operators are required to account for and report
                     all purchases and sales of fuel from non-debtor entities made through and including
                     September 1, 2023.

                  c. Reconnect credit card processing machines and black boxes by no later than two
                     weeks upon Trustee request.

    3.        Relief in this Order is authorized through September 1, 2023, which may be extended by
              written agreement between the Trustee and the Operators.

    4.        The fourteen (14) day stay provided for under the Federal Rules of Bankruptcy Procedure
              4001(a)(3) is hereby waived and the Operators, their successors and assigns, are
              authorized to immediately enforce and implement the terms of this Order.

    5.        The Court retains exclusive jurisdiction and power with respect to all matters arising from
              or related to the implementation, interpretation, and enforcement of this Order.

Dated: August 23, 2023
                                                                  DAVID R. JONES
                                                                  UNITED STATES BANKRUPTCY JUDGE

2
         For example, if the Operator operates a Valero station (or was previously purchasing Valero fuel from the
         Debtors), the Operator is authorized to only purchase Valero fuel from a third-party supplier unless Valero agrees
         otherwise.

                                                              2
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APPROVED AS TO FORM & CONTENT:

JANET NORTHRUP
COURT-APPOINTED CHAPTER 11 TRUSTEE
OF THE ESTATE OF MOUNTAIN EXPRESS OIL COMPANY, ET AL.

BY: /S/HEATHER MCINTYRE
    HEATHER MCINTYRE
    ATTORNEY FOR COURT APPOINTED CH. 11 TRUSTEE

FIRST HORIZON BANK

BY: /S/JOHN D. ELROD
    JOHN D. ELROD,

OPERATORS

BY: /S/NORMAN A. ABOOD
    NORMAN A. ABOOD
    ATTY FOR THE OPERATORS




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
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                                                                       Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                              Case No. 23-90147 (DRJ)

                                      Debtors. 1                       (Jointly Administered)

                                        DISCONNECTION NOTICE

             My name is ___________________ and I operate the gas station located at

_______________________, Store Number ________ (the “Gas Station”), which is a

counterparty to a fuel supply agreement with Mountain Express Oil Company (“Mountain

Express”).

             I have not received any recent fuel deliveries from Mountain Express and need to purchase

fuel from a third party. I wish to participate in the temporary relief authorized by the Bankruptcy

Court and need to disconnect the Mountain Express credit card processing machines and black

box. I certify below as follows and will do the following:

      1. The Gas Station uses ________________ brand of fuel and I will only purchase this brand

             of fuel from a third-party supplier.

      2. Date and time of disconnection: ______________________________________

      3. Attached to this notice is a photo of system report at the time of disconnection, or other

             documentation evidencing volumes of fuel purchased by Mountain Express prior to the

             time of disconnection.


1
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      proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
      Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter 11 cases is
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4. Report and account for all purchases of third-party fuel after the time of disconnection

   through reconnection.



Dated: ___________________


                                               By: __________________________
                                                      Operator




                                           5
